 Case 2:16-cv-05900-RGK-PLA Document 257 Filed 11/20/17 Page 1 of 2 Page ID #:7394




 1
 2
 3
 4
 5
 6                    UNITED STATES DISTRICT COURT
 7       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 8
 9 STRATEGIC PARTNERS, INC.,            Case No.: 2:16-CV-5900-RGK
                                        Judge: Hon. R. Gary Klausner
10
            Plaintiff,                  [PROPOSED] FINAL JUDGMENT
11
12     vs.
   VESTAGEN PROTECTIVE              Trial Date: September 19, 2017
13 TECHNOLOGIES, INC.,              Complaint Filed: August 8, 2016
                                    Counterclaims Filed: September 19, 2016
14
            Defendant.
15
   VESTAGEN PROTECTIVE
16 TECHNOLOGIES, INC.,
17
            Counterclaim Plaintiff,
18
       vs.
19
   STRATEGIC PARTNERS, INC.,
20
            Counterclaim Defendant.
21
22
23 ///
24 ///
25 ///
26 ///
27 ///
28 ///

                                    [PROPOSED] JUDGMENT
     4843-7536-1874
 Case 2:16-cv-05900-RGK-PLA Document 257 Filed 11/20/17 Page 2 of 2 Page ID #:7395




 1        IT IS HEREBY ORDERED that judgment be entered on the complaint of Plaintiff
 2 Strategic Partners, Inc. for false advertising in violation of 15 U.S.C. section 1125(a),
 3 unfair business practices in violation of California Business & Professions Code section
 4 17200, and untrue and misleading advertising in violation of California Business &
 5 Professions Code section 17500 in favor of Defendant Vestagen Protective Technologies,
 6 Inc. and against Strategic Partners, Inc.
 7        IT IS HEREBY FURTHER ORDERED that judgment be entered on the
 8 counterclaim of Counterclaimant Vestagen Protective Technologies for false advertising in
 9 violation of 15 U.S.C. Section 1125(a), breach of contract, and misappropriation of trade
10 secrets in favor of Counterclaim Defendant Strategic Partners, Inc and against
11 Counterclaimant Vestagen Protective Technologies, Inc.
12        IT IS HEREBY FURTHER ORDERED that the Court will decide the issues of
13 costs and attorneys’ fees after review of the parties’ submissions on these issues.
14
15
16 Date: November 20, 2017                         _______________________________
17                                                      Hon. R. Gary Klausner
18
19
20
21
22
23
24
25
26
27
28
                                               1
                                        [PROPOSED] JUDGMENT
